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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION


 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
              Plaintiff, Counter-defendant,
                   v.
 APPLE INC.,                                        JOINT NOTICE
                  Defendant, Counterclaimant.




The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
         Pursuant to Your Honor’s Discovery Order at Dkt. 1515, the Parties hereby notify the Court
that all filings to Your Honor arising out of the Special Masters’ work have been completed.
Respectfully submitted,



 DATED: June 9, 2025                              CRAVATH, SWAINE & MOORE LLP
                                                  By: /s/ Yonatan Even
                                                  Counsel for Plaintiff Epic Games, Inc.

                                                  WEIL, GOTSHAL & MANGES LLP
                                                  By: /s/ Mark A. Perry
                                                  Counsel for Defendant Apple Inc.
